Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 1 of 31




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                   24-20343-CR-WILLIAMS/GOODMAN
                                  CASE NO. --------
                                          18 u.s.c. § 371
                                          15 U.S.C. § 78dd-2
                                          15 U.S.C. § 78dd-3
                                          18 U.S.C. § 1956(h)
                                          18 U.S.C. § 1956(a)(2)(A )
                                          18 U.S.C. § 1956(a)(2 )(B)(i)
                                          18 U.S.C. § 1957(a)
                                          18 U.S.C. § 981(a)(l)(C)
                                          18 U.S.C. § 982(a)(l)
                                          18 u.s.c. § 2                                         MP
   UNITED STATES OF AMERICA
                                                                                     Aug 8, 2024
   vs.

   JUAN ANDRES DONATO BAUTISTA,                                                                    Miami

   ROGER ALEJANDRO PINATE MARTINEZ,
   JORGE MIGUEL VASQUEZ, and
   ELIE MORENO,

                          Defendants.
   --------------
                                            INDICTMENT
          The Grand Jury charges that:
                                     GENERAL ALLEGATIONS
          At all times relevant to this Indictment:

                                     Relevant Statutory Background

          1.      The Foreign Corrupt Practices Act of 1977, as amended, Title 15, United States

   Code, Sections 78dd-1, et seq. (the "FCPA"), was enacted by Congress for the purpose of, among

   other things, making it unlawful for certain classes of persons and entities to act corruptly in

   furtherance of an offer, promise, authorization, or payment of money or anything of value to a

   foreign government official for the purpose of influencing the foreign official. inducing the foreign
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 2 of 31




   official to take or omit certain acts, and securing an improper advantage in order to assist those

   classes of persons in obtaining or retaining business for, or directing business to, any person.

                                      Relevant Individuals and Entities
          2.       The Commission on Elections ("COMELEC") of the Republic of the Philippines

   ("the Philippines") was an independent agency mandated to enforce and administer election laws

   in the Philippines. COMELEC was a "department," "agency," and "instrumentality" of the

   Philippines as those terms are used in the FCPA, Title 15, United States Code, Sections 78dd-

   2(h)(2)(A) and 78dd-3(f)(2)(A).

          3.       JUAN ANDRES DONATO BAUTISTA served as the Chairman of COMELEC

   from on or about April 28, 2015, to in or around October 2017. BAUTISTA was a "foreign

   official" as that term is defined in the FCPA, Title 15, United States Code, Sections 78dd-

   2(h)(2)(A) and 78dd-3(f)(2)(A).

          4.       Company 1, an entity whose identity is known to the Grand Jury, was an election

   voting machine and service provider company that was privately held under a parent holding

   company. Company 1 was headquartered in the United Kingdom and had offices in several

   countries throughout the world .

              5.   Company 2, an entity whose identity is known to the Grand Jury, was a subsidiary

   of a parent holding company and Company 1, was incorporated in Delaware and was registered

   in Florida in or around July 2012 with an address in Boca Raton, Florida. Company 2 was a

   "domestic concern" as that term is used in the FCPA, Title 15, United States Code, Section 78dd-

   2(h)(l).

              6.   Company 3, an entity whose identity is known to the Grand Jury, was a joint-

   venture and subsidiary of a parent holding company and Company 1 that was formed in the



                                                     2
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 3 of 31




   Philippines in or around 2015 to bid for contracts relating to the 2016 elections in the Philippines.

   The joint venture included, among others, Company 1 and Vendor A (described below).

          7.      ROGER ALEJANDRO PINATE MARTINEZ, a citizen of Venezuela, was a co-

   founder, Chief Operating Officer, and President of Company 1. PINATE served on the Board of

   Directors for the parent holding company and Company 1 and was an employee of Company 2.

   PINATE was a resident of Boca Raton, Florida, in the Southern District of Florida. PINATE was

   a "domestic concern" and an "officer," "employee," and "agent" of a "domestic concern" and a

   "stockholder" thereof acting on behalf of such "domestic concern," as those terms are used in the

   FCPA, Title 15, United States Code, Sections 78dd-2(a) and 78dd-2(h)(l).

          8.      JORGE MIGUEL VASQUEZ, a citizen of the United States, was an executive

   for Company 2 in Boca Raton, Florida who managed hardware development and manufacturing

   worldwide for Company 1. He reported to ROGER ALEJANDRO PINATE MARTINEZ.

   VASQUEZ was a resident of Davie, Florida, in the Southern District of Florida. VASQUEZ was

   a "domestic concern" and an "officer," "employee," and "agent" of a "domestic concern," and a

   "stockholder" thereof acting on behalf of a "domestic concern," as those terms are used in the

   FCPA, Title 15, United States Code, Sections 78dd-2(a) and 78dd-2(h)(l).

          9.      ELIE MORENO, a dual citizen of Venezuela and Israel, was a Company 1

   executive involved in managing Companies 1 and 3's contracts with COMELEC in the

   Philippines. He served as project director for Company 3 and a Company 1 subsidiary in the

   Philippines, and he signed and implemented the 2016 Philippine elections contracts with

   COMELEC.

          10.     Individual 1, a dual citizen of Venezuela and Portugal, and whose identity is known

   to the Grand Jury, had a business relationship with Company 1 and its subsidiaries. Individual 1


                                                    3
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 4 of 31




   owned, had an interest in, and controlled multiple offshore companies and bank accounts,

   including Hong Kong Company 1, whose identity is known to the Grand Jury, and its bank account

   in United Arab Emirates.

          11.     Vendor A, an entity whose identity is known to the Grand Jury, was a company

   based in Taiwan that manufactured hardware for electronic products for Companies 1, 2, and 3.

   Vendor A partnered with Company 1 to form the joint venture with Company 3 that bid on and

   was awarded contracts to supply voting machines to the Philippines for its 2016 elections.

          12.     Vendor A-Executive, an individual whose identity is known to the Grand Jury, was

   an executive and owner of Vendor A. Vendor A-Executive was an "agent" of a domestic concern

   as that term is used in the FCPA, Title 15, United States Code, Sections 78dd-(2)(a) and (h)(l).

          13.     Baumann Enterprises Limited ("Baumann") was a foreign shell company

   incorporated in the British Virgin Islands in or around 2010. JUAN ANDRES DONATO

   BAUTISTA as well as two relatives owned and were beneficial owners of Baumann. BAUTISTA

   owned and exercised control over Baumann and its bank account in Singapore ending in 2411

   ("Baumann Bank Account 2411").

          14.     Shell Company X, an entity whose identity is known to the Grand Jury, was a

   foreign shell company incorporated in Anguilla in or around 2014. Vendor A-Executive owned

   and exercised control over Shell Company X and its bank account in Hong Kong ending in 271-

   838 ("Hong Kong Bank Account 271-838").

          15.     Shell Company Y, an entity whose identity is known to the Grand Jury, was a

   foreign shell company incorporated in Brunei in or around 2011. A relative of Vendor A-Executive

   was listed as a director of Shell Company Y and the primary account user for Shell Company Y's

   bank account in Hong Kong. Vendor A-Executive owned and exercised control over Shell


                                                   4
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 5 of 31




   Company Y and its bank account in Hong Kong ending in 796-838 ("Hong Kong Bank Account

   796-838").

          16.     Philippine Metals Company, an entity whose identity is known to the Grand Jury,

   was incorporated in the Philippines in or around 1994. Philippine Metals Company represented

   itself to be, among other things, an exporter, importer, and manufacturer of metals and metal

   products.

          17.     Philippine MSB Company, an entity whose identity is known to the Grand Jury,

   was a registered money services business ("MSB ") incorporated in or around 2010 that operated

   in the Philippines.

                               COMELEC 2016 Philippine Election Contracts

          18.     In or around October 2014, COMELEC opened the bidding process for the lease

   of, with an option to buy, 23,000 election machines and related services for the 2016 Philippine

   elections ("Contract 1").

          19.     On or about August 1, 2015, COMELEC awarded Contract 1 to Company 3. ELIE

   MORENO, as Project Director, and on behalf of Company 3, and another COMELEC

   commissioner, on behalf of COMELEC, signed Contract 1 because JUAN ANDRES DONATO

   BAUTISTA was unavailable.            For Contract 1, COMELEC agreed to pay Company 3

   1,724,712,698.24 Philippine pesos (approximately $37,038,502.80 in U.S. dollars), in

   installments, and upon Company 3 meeting certain milestones during the contract. The contract

   provided that COMELEC would issue a payment to Company 3 only when BAUTISTA or his

   designee certified that Company 3 had reached a milestone.




                                                   5
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 6 of 31




           20.    In or around May 2015, COMELEC opened the bidding process for the lease of,

   with the option to buy, 70,977 election machines and related services for the 2016 Philippine

   elections ("Contract 2").

           21.    On or about August 27, 2015, COMELEC awarded Contract 2 to Company 3.

   JUAN ANDRES DONATO BAUTISTA, as COMELEC Chairman, and ELIE MORENO, as

   Project Director, and on behalf of Company 3, signed Contract 2. For Contract 2, COMELEC

   agreed to pay Company 3 6,286,382,682.72 Philippine pesos (approximately $134,670,877.27 in

   U.S. dollars), in installments, and upon Company 3 meeting milestones during the contract.

   Contract 2 provided that COMELEC would pay Company 3 only when BAUTISTA or his

   designee certified that Company 3 reached a milestone.

           22.    In or around March 2015, COMELEC opened the bidding process for services

   related to transmission of results for the 2016 elections ("Contract 3"). On or about December 8,

   2015, COMELEC awarded Contract 3 to a subsidiary of Company 1 for the 2016 Philippine

   elections.    JUAN ANDRES DONATO BAUTISTA, as COMELEC Chairman, and ELIE

   MORENO, as Project Director, and on behalf of the Company 1 subsidiary, signed Contract 3.

   For Contract 3, COMELEC agreed to pay the Company 1 subsidiary 507,718,000 Philippine pesos

   (approximately $10,642,488.37 in U.S. dollars), in installments, and upon the Company 1

   subsidiary meeting milestones during the contract. Contract 3 provided that COMELEC would

   pay the Company 1 subsidiary only when BAUTISTA or his designee certified that the Company

   1 subsidiary had met a milestone.

           23.    In total, in or around and between 2015 and 2016, Company 3 and the Company 1

   subsidiary won bids for Contracts 1, 2, and 3 worth a total approximate value of 8,518,813,380.96

   Philippine pesos (approximately $182,351,868.44 U.S. dollars) to supply COMELEC with voting


                                                  6
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 7 of 31




   machines and related services for the May 2016 elections in the Philippines for President, Vice­

   President, and other official positions.

                                             COUNTl
                      Conspiracy to Violate the Foreign Corrupt Practices Act
                                         (18 u.s.c. § 371)

          1.      The General Allegations section of this Indictment is re-alleged and incorporated

   by reference as though fully set forth herein.

          2.      Beginning in or around May 2015 and continuing through in or around February

   2018, in Miami-Dade, Broward, and Palm Beach Counties, in the Southern District of Florida, and

   elsewhere, the defendants,

                         ROGER ALEJANDRO PINATE MARTINEZ and
                                JORGE MIGUEL VASQUEZ,

   did knowingly and willfully, that is, with the intent to further the objects of the conspiracy,

   combine, conspire, confederate and agree with each other and with others known and unknown to

   the Grand Jury, to commit an offense against the United States, that is:

          a.      being a domestic concern, and an officer, director, employee, and agent of a

   domestic concern, and a stockholder thereof acting on behalf of a domestic concern, to willfully

   and corruptly make use of the mails and means and instrumentalities of interstate commerce in

   furtherance of an offer, payment, promise to pay, and authorization of the payment of money, offer,

   gift, promise to give, and authorization of the giving of anything of value to a foreign official, and

   to a person, while knowing that all or a portion of such money and thing of value would be and

   had been offered, given, and promised to a foreign official, for purposes of: (i) influencing acts

   and decisions of such foreign official in his or her official capacity; (ii) inducing such foreign

   official to do and omit to do acts in violation of the lawful duty of such official; (iii) securing an

   improper advantage; and (iv) inducing such foreign official to use his or her influence with a

                                                     7
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 8 of 31




   foreign government, departments, agencies and instrumentalities thereof to affect and influence

   acts and decisions of such government, departments, agencies and instrumentalities, in order to

   assist ROGER ALEJANDRO PINATE MARTINEZ, JORGE MIGUEL VASQUEZ, and

   others in obtaining and retaining business for and with, and directing business to Company 1,

   Company 1 subsidiary, Company 2, Company 3, Vendor A, and others, in violation of Title 15,

   United States Code, Section 78dd-2; and

          b.      while in the territory of the United States, to willfully and corruptly make use of

   the mails and means and instrumentalities of interstate commerce and do any other act in

   furtherance of an offer, payment, promise to pay, and authorization of the payment of money, offer,

   gift, promise to give, and authorization of the giving of anything of value to a foreign official, and

   to a person, while knowing that all or a portion of such money and thing of value would be and

   had been offered, given, and promised to a foreign official, for purposes of: (i) influencing acts

   and decisions of such foreign official in his or her official capacity; (ii) inducing such foreign

   official to do and omit to do acts in violation of the lawful duty of such official; (iii) securing an

   improper advantage; and (iv) inducing such foreign official to use his or her influence with a

   foreign government, departments, agencies, and instrumentalities thereof to affect and influence

   acts and decisions of such government, departments, agencies, and instrumentalities, in order to

   assist ROGER ALEJANDRO PINATE MARTINEZ and others in obtaining and retaining

   business for and with, and directing business to, Company 1, Company 1 subsidiary, Company 2,

   Company 3, Vendor A, and others, in violation of Title 15, United States Code, Section 78dd-3.

                                       Purpose of the Conspiracy

          3.      It was a purpose of the conspiracy for ROGER ALEJANDRO PINATE

   MARTINEZ, JORGE MIGUEL VASQUEZ, and their co-conspirators to offer, promise to pay,


                                                     8
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 9 of 31




   and pay bribes to JUAN ANDRES DONATO BAUTISTA, a Philippine government official, in

   order to obtain and retain contracts with, and receive payment including releases of value added

   tax ("VAT") payments       from COMELEC, for and with, and direct business to Company 1,

   Company 1 subsidiary, Company 2, Company 3, Vendor A, and others. It was further a purpose

   of the conspiracy to conceal the bribe payments, proceeds, and funds related to the corrupt scheme.

                               Manner and Means of the Conspiracy

          The manner and means by which ROGER ALEJANDRO PINATE MARTINEZ,

   JORGE MIGUEL VASQUEZ and their co-conspirators sought to accomplish the objects and

   purposes of the conspiracy included, among other things, the following:

          4.      ROGER ALEJANDRO PINATE MARTINEZ, JORGE MIGUEL VASQUEZ,

   and ELIE MORENO, together with others, regularly communicated about corrupt payments to

   and for the benefit of JUAN ANDRES DONATO BAUTISTA using personal or non-business

   email accounts, as well as encrypted messaging on WhatsApp, to conceal the nature of the

   communications.

          5.      ROGER ALEJANDRO PINATE MARTINEZ, JORGE MIGUEL VASQUEZ,

   and ELIE MORENO, together with others, created and used slush funds to, among other things,

   pay bribes to JUAN ANDRES DONATO BAUTISTA, including by over-invoicing or inflating

   the cost per voting machine for the May 2016 Philippine elections with additional fees of $50 and

   $10 per unit. PINATE, VASQUEZ, and others further caused transfers of monies from slush

   funds to, through, and from bank accounts and companies controlled by PINATE, VASQUEZ,

   and others    including bank accounts and companies located in Hong Kong; Singapore; the

   Philippines; Switzerland; New York; and Weston, Florida; and elsewhere.




                                                    9
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 10 of 31




           6.     To conceal and disguise the nature and purpose of the slush funds, JORGE

   MIGUEL VASQUEZ and others described in coded language the slush funds generated by the

   additional $50 fee as the "boss's funds," "RUSH fee" or "Extra Fee[s]," and the funds generated

    by the additional$10 per unit as the "RUE."

           7.     ROGER ALEJANDRO PINATE MARTINEZ, JORGE MIGUEL VASQUEZ,

   and ELIE MORENO, together with others, caused fraudulent contracts and sham loan agreements

   to be created from various offshore entities that described services and loans that were not provided

   to generate funds for corrupt payments from the slush funds for the benefit of JUAN ANDRES

    DONATO BAUTISTA.

           8.     ROGER ALEJANDRO PINATE MARTINEZ, JORGE MIGUEL VASQUEZ,

   and ELIE MORENO, together with others, caused corrupt payments to be made for the benefit

   of JUAN ANDRES DONATO BAU TISTA through a series of transactions, initiating in the

   Southern District of Florida and elsewhere, involving a network of offshore and domestic bank

   accounts, intermediaries, and shell and front companies including by Shell Company X and Shell

    Company Y, which were owned and controlled by Vendor A-Executive, and Philippine Metals

   Company and Philippine MSB Company.

           9.     ROGER ALEJANDRO PINATE MARTINEZ, JORGE MIGUEL VASQUEZ,

   and ELIE MORENO, together with others, directed and caused Vendor A-Executive to use

   domestic and overseas bank accounts to transfer and to attempt to transfer approximately

   $1,000,000 in bribe payments to and for the benefit of JUAN ANDRES DONATO BAUTISTA.

           10.    To promote the bribery scheme and conceal the proceeds, using the funds received

   from Vendor A-Executive, JUAN ANDRES DONATO BAUTISTA wired and caused the wire

   transfer of$960,000, purportedly as a "gift," from Baumann Bank Account 2411 to a bank account
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 11 of 31




   in New York held in the name of a family member, which the family member then used to purchase

   a property in San Francisco, California.

                                                Overt Acts

          In furtherance of the conspiracy, and to accomplish the purposes and objects thereof,

   ROGER ALEJANDRO PINATE MARTINEZ, JORGE MIGUEL VASQUEZ, their co­

   conspirators, and others, committed and caused to be committed, in the Southern District of

   Florida, and elsewhere, at least one of the following overt acts, among others:

          1.      On or about May 16, 2015, ROGER ALEJANDRO PINATE MARTINEZ sent

   JORGE MIGUEL VASQUEZ a WhatsApp message stating, in Spanish, that he was "screwed

   here in the Philippines they want to eliminate us, and I am fighting it to the death ...."

          2.      Shortly after he sent the prior message referenced in Paragraph 1 above, on or about

   May 16, 2015, ROGER ALEJANDRO PINATE MARTINEZ sent JORGE MIGUEL

   VASQUEZ a follow-up WhatsApp message communicating, in Spanish, that "the BaC [Bids and

   Awards Committee] has two members bought by [ a competitor] of the 5" members.

          3.       On or about March 31, 2016, JORGE MIGUEL VASQUEZ emailed Vendor A-

   Executive to caution him that "[s]ince there are some other fees involved that [a Vendor A

   employee] shouldn't be aware, let's discuss it (using those emails addresses) among us first and

   then you can notify [the Vendor A employee] of the final cost (without mentioning the other fees)."

          4.      On or about April 12, 2016, using personal email addresses, ROGER

   ALEJANDRO PINATE MARTINEZ emailed JORGE MIGUEL VASQUEZ to introduce

   VASQUEZ to Individual 1 and to arrange a meeting between VASQUEZ and Individual 1 in

   Weston, Florida, in the Southern District of Florida.




                                                    11
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 12 of 31




          5.      On or about May 15, 2016, ROGER ALEJANDRO PINATE MARTINEZ, via

   personal email, instructed JORGE MIGUEL VASQUEZ to "create the contract you need" to

   begin making payments to a bank account associated with Philippine Metals Company

   ("Philippine Metals Company Bank Account 0419").

          6.      On or about May 16, 2016, JORGE MIGUEL VASQUEZ emailed Vendor A-

   Executive that he had a meeting with his "boss" and Individual 1 the day before, and that they

   considered another company to use "in the future for the kind of transactions we have to make. I

   [t]hink it is a good idea that we have many ways to route the transactions so we minimize the

   transfers to 1 or 2 companies. The idea is to use this company, as a 'sales representative' of [Vendor

   A], so if in the future we need to [sic] something, [Company 1] can place a PO for some service

   or items to [Ifong Kong Company 1], and such company place a PO to [Vendor A] for less amount,

   keeping some 'profit' or funds in such company we could use for other purposes."

          7.      On or about May 19, 2016, ELIE MORENO, using another personal email

   address, forwarded a sham contract to ROGER ALEJANDRO PINATE MARTINEZ, at a

   personal email account. The contract listed a schedule of multiple payments from Shell Company

   X to Philippine Metals Company for a total of $1,350,000 for the purported purchase of iron ore

   and copper.

          8.      On or about May 20, 2016, JORGE MIGUEL VASQUEZ sent an email to

   ROGER ALEJANDRO PINATE MARTINEZ, in Spanish, advising PINATE to modify the

   service clause of the contract between Shell Company X and Philippines Metals Company based

   on "whatever comes to mind ... [use] the imagination ... hahahahahaha."




                                                    12
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 13 of 31




          9.      On or about June 2, 2016, JORGE MIGUEL VASQUEZ directed and caused

   Vendor A-Executive to wire transfer approximately $350,000 from Shell Company X to Philippine

   Metals Company for a fictitious purchase of iron ore and copper.

          10.     On or about July 21, 2016, ROGER ALEJANDRO PINATE MARTINEZ sent

   JORGE MIGUEL VASQUEZ an email, in Spanish, directing VASQUEZ "not to make any more

   payments until I let you know because they owe us."

          11.     On or about July 29, 2016, ELIE MORENO, on behalf of Company 3, sent JUAN

   ANDRES DONATO BAUTISTA, in his capacity as COMELEC Chairman, a letter requesting

   that BAUTISTA use his "good office to approve the release of our outstanding collectible totaling

   Php 3.3 Billion (inclusive of 12% VAT)" (approximately $70,132,635.69 in U.S. dollars).

          12.     On or about August 3, 2016, JORGE MIGUEL VASQUEZ emailed ROGER

   ALEJANDRO PINATE MARTINEZ, in Spanish: "It's important that you come to Taiwan

   sometime when I'm here to rub the nephew's back! He is really helping us and I would like him

   to know (verbally) that this is a favor to the company!"

          13.     On or about August 3, 2016, ROGER ALEJANDRO PINATE MARTINEZ

   created and caused to be created a sham draft loan agreement for Shell Company X.

          14.     On or about August 10, 2016, JORGE MIGUEL VASQUEZ, messaged via

   WhatsApp to ROGER ALEJANDRO PINATE MARTINEZ, in Spanish, that he would send the

   wire transfer the following week in connection with the loan contract, but that he was concerned

   about doing so because the wire transfer involved "this country" and the country could be a "pain."

          15.     On or about August 10, 2016, ROGER ALEJANDRO PINATE MARTINEZ,

   later messaged, in Spanish, via WhatsApp to JORGE MIGUEL VASQUEZ, informing him that




                                                   13
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 14 of 31




   "[i]t seems that we are close to achieving the goal of collecting, and in addition collecting much

   more than what was hoped for through a tax strategy, we are close."

            16.   On or about August 11, 2016, ELIE MORENO sent an email to ROGER

   ALEJANDRO PINATE MARTINEZ and JORGE MIGUEL VASQUEZ with payment

   instructions for Baumann Bank Account 2411 and a sham loan agreement between Shell Company

   X and Baumann.

            17.   On or about August 15, 2016, several days after JUAN ANDRES DONATO

   BAUTISTA approved the payment of 195,663,660.99 Philippine pesos (approximately

   $4,208,454.20 in U.S. dollars) to Company 3 relating to a release of VAT withheld from Contract

   2, ROGER ALEJANDRO PINATE MARTINEZ, while in the Southern District of Florida, sent

   JORGE MIGUEL VASQUEZ a WhatsApp message, in Spanish, that "Elie [MORENO] sends

   you the instructions but they already started paying us so we can immediately execute the loan."

            18.   On or about August 15, 2016, replying to an email from JORGE MIGUEL

   VASQUEZ, and copying ROGER ALEJANDRO PINATE MARTINEZ, ELIE MORENO

   wrote that the wiring instruction to Baumann Bank Account 2411 "[l]ooks ok. Checking to be

   safe."

            19.   On or about August 15, 2016, ROGERALEJANDRO PINATE MARTINEZ and

   JORGE MIGUEL VASQUEZ, while both in the Southern District of Florida, engaged in a

   WhatsApp conversation, in Spanish, about payments to Philippine Metals Company, in which

   VASQUEZ advised PINATE that he was working on the "loan," but warned that they may have

   to change the entities involved since the two they have used are overexposed.

                  a. In the same WhatsApp conversation, JORGE MIGUEL VASQUEZ wrote, in

                     Spanish, to ROGER ALEJANDRO PINATE MARTINEZ that "my pal is


                                                  14
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 15 of 31




                     *hitting himself because it is a lot in one shot so that I have to do 2 documents

                     for 500 each one!"

                 b. In the same WhatsApp conversation, in Spanish, JORGE MIGUEL

                     VASQUEZ wrote to ROGER ALEJANDRO PINATE MARTINEZ that the

                     loan has to be done well because it is a lot of money to pass through the United

                     States, which "sets off a lot of alarms."

           20.    On or about August 16, 2016, JORGE MIGUEL VASQUEZ sent ROGER

    ALEJANDRO PINATE MARTINEZ a WhatsApp message, in Spanish, informing him that the

    $1,000,000 loan payment had to be divided into two payments with 500 being "lent'' by Shell

   Company X and 500 by Shell Company Y because it was a lot of"salsa'' to send to the "north."

          21.    On or about August 16, 2016, ROGER ALEJANDRO PINATE MARTINEZ and

   JORGE MIGUEL VASQUEZ directed and caused Vendor A-Executive to send and attempt to

   send a wire transfer in the amount of approximately $500,000 for a sham loan from Shell Company

   Y, through an intermediary bank in New York, to Baumann Bank Account 2411 in Singapore.

          22.    On or about August 18, 2016, ROGER ALEJANDRO PINATE MARTINEZ and

   JORGE MIGUEL VASQUEZ engaged in a WhatsApp conversation, in Spanish, about payments

   regarding the sham loan, in which VASQUEZ expressed concerns about sending "a lot of money

   in the same week. If they had not asked to send them to the usa there would not have been a

   problem but sending them to the usa is what complicated everything."

          23.    On or about August 22, 2016, ROGER ALEJANDRO PINATE MARTINEZ,

   JORGE MIGUEL VASQUEZ and others directed and caused Vendor A-Executive to send and

   attempt to send a wire transfer in the amount of approximately $500,000 for a sham loan from




                                                   15
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 16 of 31




    Shell Company X, through an intermedi ary bank in New York, to Baumann Bank Account 2411

   in Singapore.

          24.       On or about August 31, 2016, ROGER ALEJANDRO PINATE MARTINEZ,

   JORGE MIGUEL VASQUEZ and others directed and caused Vendor A-Executive to send and

   attempt to send a wire transfer in the amount of approximately $500,000 for a sham loan from

   Shell Company Y, through an intermedi ary bank in New York, to Baumann Bank Account 2411 in

    Singapore.

           25.      On or about September 29, 2016, Vendor A-Executive wrote to JORGE MIGUEL

   VASQUEZ, using personal email addresses, "O]ust in case, ifbank request us to provide some

   document to proof [sic] the purpose of transfer, [w]ould you please help to send the Loan

   Agreement copy (with both sign [sic]) to us for the record? Thank you~"

          26.       On or about October 7, 2016, JORGE MIGUEL VASQUEZ emailed Vendor A-

    Executive signed copies ofsham loan contracts between Shell Companies X and Y and Baumann

   that ELIE MORENO had emailed to VASQUEZ one day before.

          27.       On or about October 17, 2016, JORGE MIGUEL VASQUEZ-after learning that

   JUAN ANDRES DONATO BAUTISTA had failed to convince bank officials at a bank in

   Singapore that the two August 2016 loans agreements between Baumann and Shell Company X

   and Shell Company Y, respectively, were legitimate, and that the approximately $1,000,000 had

   been returned to Shell Companies X and Y-sent an email to Vendor A-Executive, that he would

   inform him later how to "use those funds."

          28.       On or about December 6, 2016, JORGE MIGUEL VASQUEZ emailed Vendor A-

   Executive the following instructions:

                 Remember the 2 500's T/T returned?
                 We need to pay that 1 MM to [Philippine Metals Company].

                                                   16
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 17 of 31




                    You did some transfers before to them, so you should have all the information; the
                    contract is still valid so I think it should not be a problem to pay them.
                    Please let me know what do you need in order to start sending the payments ...
                    I suggest to send as follows:

                    WED 07DEC 297,500$
                    FRI 09DEC 262,700$
                    TUE 12DEC 268,800$
                    THU 14DEC 71,000$

              29.      On or about December 6, 2016, JORGE MIGUEL VASQUEZ, in a reply email

   to Vendor A-Executive, wrote that "I prefer to do the first one ASAP in order to calm down the

   recipient people ...Worst case scenario you can not do it tomorrow, follow your suggestion but be

   sure we follow the schedule. Send me the TIT confirmations once you have them!"

              30.      On or about December 7, 2016, using personal email addresses, JORGE MIGUEL

   VASQUEZ emailed ROGER ALEJANDRO PINATE MARTINEZ and ELIE MORENO wire

   confirmation of a payment sent by Shell Company X to Philippine Metals Company Bank Account

   0419 in the amount of approximately $297,500.

              31.      On or about January 3, 2017, ROGER ALEJANDRO PINATE MARTINEZ,

   JORGE MIGUEL VASQUEZ, their co-conspirators, and others caused the following emails to

   be sent:

                       a. On or about January 3, 2017, an individual emailed ELIE MORENO an

                           updated sham contract between Philippine Metals Company and Shell

                           Company X for the purchase of iron ore and copper.

                       b. On or about January 3, 2017, an employee of an attorney emailed an unknown

                           person wire transfer confirmation of $262,700 from Shell Company X to

                           Philippine Metals Company.




                                                        17
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 18 of 31




                  c. On or about January 3, 2017, an employee of an attorney sent an attorney an

                      email informing the attorney that Philippines Metals Company had received

                      $262,000.

          32.     On or about February 9, 2017, using personal email addresses, JORGE MIGUEL

   VASQUEZ emailed ROGER ALEJANDRO PINATE MARTINEZ and ELIE MORENO wire

   confirmation of a payment sent by Shell Company X to Philippine Metals Company Bank.Account

   0419 in the amount of approximately $268,772.

          33..    On or about February 9, 2017, using personal email addresses, JORGE MIGUEL

   VASQUEZ sent an email informing ELIE MORENO that the payments referenced in Paragraph

   28 had been made to Philippine Metals Company. VASQUEZ further wrote, in Spanish, to

   ROGER ALEJANDRO PINATE MARTINEZ and MORENO that "[t]his would be the status

   of the new batch (after the previous original plan had to be reversed and re-routed.)"

          34.     On or about February 16, 2017, Philippine Metals Company wired approximately

   $268,772 from Philippine Metals Company Bank Account 0419 to a Philippine MSB Company

   bank account ending in 0212.

          35.     Shortly thereafter, ROGER ALEJANDRO PINATE MARTINEZ, JORGE

   MIGUEL VASQUEZ, and ELIE MORENO caused Vendor A-Executive to send a wire on or

   about February 22, 2017, in the approximate amount of $71,000 from Shell Company X to

   Philippine Metals Company.

          36.     On or about August 10, 2017, using personal email accounts, Vendor A-Executive

   emailed JORGE MIGUEL VASQUEZ an Excel spreadsheet that detailed "Extra Fee" and "Rue"

   payments from Shell Company X to Baumann, Philippine Metals Company, and other entities.




                                                   18
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 19 of 31




          37.     On or about February 19, 2018, an employee for an attorney sent an attorney an

   email with the subject line, "Reconciliation of Accounts, 10-30-17           Final" with an Excel

   spreadsheet titled "Reconciliation - ELI MORENOv9," which included the redirected payments

   referenced in Paragraph 28.

          All in violation ofTitle 18, United States Code, Section 371.

                                             COUNT2
                                    Foreign Corrupt Practices Act
                                          (15 U.S.C. § 78dd-2)

          1.      The General Allegations section ofthis Indictment are re-alleged and incorporated

   by reference as though fully set forth herein.

          2.      On or about August 15, 2016, in Broward and Palm Beach Counties, in the Southern

   District ofFlorida, and elsewhere, the defendants,

                         ROGERALEJANDRO PINATE MARTINEZ and
                               J ORGE MIGUEL VASQUEZ,

   being a domestic concern and an officer, director, employee and agent of a domestic concern, and

   a stockholder thereof acting on behalf ofa domestic concern, did willfully and corruptly make use

   and cause to be used, and aid, abet, and willfully cause others to make use of the mails and means

   and instrumentalities of interstate commerce in furtherance of an offer, payment, promise to pay,

   and authorization of the payment of money, offer, gift, promise to give, and authorization of the

   giving ofanything ofvalue to a foreign official, and to a person, while knowing that all or a portion

   of such money and thing ofvalue would be and had been offered, given, and promised to a foreign

   official, for purposes of: (i) influencing acts and decisions of such foreign official in his or her

   official capacity; (ii) inducing such foreign official to do and omit to do acts in violation of the

   lawful duty of such official; (iii) securing an improper advantage; and (iv) inducing such foreign

    official to use his or her influence with a foreign government, departments, agencies, and

                                                    19
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 20 of 31




    instrumentalities thereof to affect and influence acts and decisions of such government and

   agencies and instrumentalities, in order to assist ROGER ALEJANDRO PINATE MARTINEZ,

   JORGE MIGUEL VASQUEZ, and others in obtaining and retaining business for and with, and

    directing business to, Company 1, Company 1 subsidiary, Company 2, Company 3, Vendor A, and

    others, to wit, PINATE sent VASQUEZ a WhatsApp message relating to payments received from

   COMELEC and the instruction to immediately execute a loan that would be used to facilitate a

   payment for the benefit of JUAN ANDRES DONATO BAUTISTA in furtherance of the illegal

   bribery scheme.

             In violation of Title 15, United States Code, Sections 78dd-2 and Title 18, United States

   Code, Section 2.

                                               COUNT3
                               Conspiracy to Commit Money Laundering
                                           (18 U.S.C. § 1956(h))

             1.     The General Allegations section and Paragraphs 4 through 10 of the Manner and

   Means section of Count 1 are re-alleged and incorporated by reference as though fully set forth

   herein.

             2.     From in or around May 2015 and continuing until at least February 2018, in Miarni-

   Dade, Broward, and Palm, Beach Counties, in the Southern District of Florida, and elsewhere, the

   defendants,

                              JUAN ANDRES DONATO BAUTISTA,
                            ROGER ALEJANDRO PINATE MARTINEZ,
                                JORGE MANUEL VASQUEZ, and
                                      ELIE MORENO,

   did knowingly and voluntarily combine, conspire, confederate, and agree with each other and with

   persons known and unknown to the Grand Jury, to commit offenses defined in Title 18, United

   States Code, Section 1956, namely:

                                                    20
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 21 of 31




          a.      to knowingly transport, transmit, and transfer, and attempt to transport, transmit,

   and transfer, a monetary instrument and funds from a place in the United States to and through a

   place outside the United States, and to a place in the United States from and through a place outside

   the United States, knowing that the monetary instrument and funds involved in the transportation,

   transmission, and transfer represent the proceeds of some form of unlawful activity and knowing

   that such transportation, transmission, and transfer was designed in whole and in part to conceal

   and disguise the nature, the location, the source, the ownership, and the control of the proceeds of

   specified unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(2)(B)(i);

          b.      to knowingly transport, transmit, and transfer, and attempt to transport, transmit,

   and transfer, a monetary instrument and funds from a place in the United States to and through a

   place outside the United States, and to a place in the United States from and through a place outside

   the United States, with the intent to promote the carrying on of a specified unlawful activity, in

   violation of Title 18, United States Code, Section 1956(a)(2)(A); and

          c.      to knowingly engage and attempt to engage in a monetary transaction affecting

   interstate and foreign commerce, by, through and to a fmancial institution, in criminally derived

   property of a value greater than $10,000, such property having been derived from a specified

   unlawful activity, and knowing that the property involved in the financial transactions represented

   the proceeds of some form of unlawful activity, in violation ofTitle 18, United States Code, Section

   1957(a).

          It is further alleged that the specified unlawful activity is:

          (a) a felony violation of the Foreign Corrupt Practices Act, Title 15, United States Code,

   Sections 78dd-2 and 78dd-3; and

          (b) an offense against a foreign nation, specifically the Philippines, involving bribery of a


                                                     21
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 22 of 31




   public official, and the misappropriation, theft, and embezzlement of public funds by and for the

   benefit of a public official as provided by Title 18, United States Code, Section 1956(c)(7)(B)(iv).

           All in violation of Title 18, United States Code, Section 1956(h).

                                             COUNTS4-6
                           International Laundering of Monetary Instruments
                                       (18 U.S.C. § 1956(a )(2)(A))
           1.     The General Allegations section of this Indictment are re-alleged and incorporated

   by reference as though fully set forth herein.

           2.     On or about the dates specified as to each Count below, in Miami-Dade, Broward,

   and Palm Beach Counties, in the Southern District of Florida, and elsewhere, the defendants,

                              JUAN ANDRES DONATO BAUTISTA,
                            ROGER ALEJANDRO PINATE MARTINEZ,
                                JORGE MIGUEL VASQUEZ, and
                                      ELIE MORENO,

   did knowingly transport, transmit, and transfer, attempt to transport, transmit, and transfer, and aid,

   abet and cause others to do the same, a monetary instrument and funds from a place in the United

    States to and through a place outside the United States, and to a place in the United States from

   and through a place outside the United States, with the intent to promote the carrying on of a

   specified unlawful activity, as set forth below:

          Count           Approximate                        Description of Transaction
                             Date
                                             Wire transfer in the amount of approximately $500,000
             4          August 16, 2016      from Shell Company Y's Hong Kong Bank Account 796-
                                             838, through an intermediary bank account in New York,
                                             to Baumann Bank Account 2411 in Singapore.
                                             Wire transfer in the amount of approximately $500,000
            5           August 22, 2016      from Shell Company X's Hong Kong Bank Account 271-
                                             838, through an intermediary bank account in New York,
                                             to Baumann Bank Account 2411 in Singapore.
                                             Wire transfer in the amount of approximately $500,000
            6           August 31, 2016      from Shell Company Y's Hong Kong Bank Account 796-
                                             838, through an intermediary bank account in New York,
                                             to Baumann Bank Account 2411 in Singapore.

                                                      22
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 23 of 31




           It is further alleged that the specified unlawful activity is:

           (a) a felony violation of the Foreign Corrupt Practices Act, Title 15, United States Code,

    Sections 78dd-2 and 78dd-3; and

           (b) an offense against a foreign nation, specifically the Philippines, involving bribery of a

    public official, and the misappropriation, theft, and embezzlement of public funds by and for the

    benefit of a public official as provided by Title 18, United States Code, Section 1956(c)(7)(B)(iv).

                 In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                       FORFEITURE ALLEGATIONS

            1.      The allegations of this Indictment are hereby re-alleged and by this reference fully

    incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

    property in which the defendants, JUAN ANDRES DONATO BAUTISTA, ROGER

   ALEJANDRO PINATE MARTINEZ, JORGE MIGUEL VASQUEZ, and ELIE MORENO,

   have an interest.

           2.       Upon conviction of a violation, or conspiracy to commit a violation, of Title 15,

   United States Code, Sections 78dd-2 and/or 78dd-3, as alleged in this Indictment, the defendant

   shall forfeit to the United States any property, real or personal, which constitutes or is derived from

   proceeds traceable to such offense, pursuant to Title 18, United States Code, Section 98l(a)(l)(C).

           3.       Upon conviction of violation, or conspiracy to commit a violation, of Title 18

   United States Code, Sections 1956 and/or 1957, as alleged in this Indictment, the defendants shall

   forfeit to the United States any property, real or personal, involved in such offenses, and any

    property traceable to such property, pursuant to Title 18, United States Code, Section 982(a)(l).

           4.       The property subject to forfeiture, as a result of the alleged offenses, includes, but

   is not limited to, the following:

                                                      23
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 24 of 31




           (i)     Real property located at 2655 Bush Street, Unit #212, San Francisco, California

                   94115.

           5.      If any of the property subject to forfeiture, as a result of any act or omission of the

    defendant:

                   a. Cannot be located upon the exercise of due diligence;

                   b. Has been transferred or sold to, or deposited with, a third party;

                   c. Has been placed beyond the jurisdiction of the court;

                   d. Has been commingled with other property which cannot be divided without

                       difficulty.

    The United States shall be entitled to forfeiture of substitute property under the provisions of Title

   21, United States Code, Section 853(p).

           All pursuant to Title 18, United States Code, Sections 98l(a)(l)(C) and 982(a)(l), and the

    procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title 18,

   United States Code, Section 982(b )(1) and Title 28, United States Code, Section 2461(c).




   GLENN S. LEON, CHIEF                            � if -'
   FRAUD SECTION                                    UNITED STATES ATTORNEY
   CRIMINAL DIVISION
   U.S. DEPARTMENT OF JUSTICE


   �6,,n
   LC. DILORENZO
   CONNOR MULLIN
   TRIAL ATTORNEYS
   ALEXANDER KRA MER
   A SSISTA NT CHIEF

                                                     24
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 25 of 31
                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                         CASE NO.: 24-20343-CR-WILLIAMS/GOODMAN
                                                                           _____________

v.
JUAN ANDRES DONATO BAUTISTA, et                                  CERTIFICATE OF TRIAL ATTORNEY
al.,
-----------------I
                Defendants.                                      Superseding Case Information:
Court Division (select one)                                      New Defendant(s) (Yes or No) __
   IE Miami Cl Key West                    □ FTP                 Number of New Defendants
       □
      FTL         CIWPB                                          Total number of new counts

I do hereby certify that:
  1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
           witnesses and the legal complexities of the Indictment/lnformation attached hereto.
  2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
           their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

  3.       Interpreter: (Yes orNo) �
           List language and/or dialect: -------
 4.        This case will take � days for the parties to try.

  5.       Please check appropriate category and type of offense listed below:
           (Check only one)                          (Check only one)
           I    □  0 to 5 days                   Cl Petty
           II   □  6 to 10 days                  □  Minor
           III IE 11 to 20 days                  □  Misdemeanor
           IV Cl 21 to 60 days                   IE Felony
           V Cl 61 days and over
 6.        Has this case been previously filed in this District Court? (Yes or No) No
           If yes, Judge ___________ Case No. ______________ _
 7.        Has a complaint been filed in this matter? (Yes or No) Yes
           If yes, Magistrate Case No. 23-mj-3829-Louis
 8.         Does this case relate to a previously filed matter in this District Court? (Yes or No) �
           If yes, Judge ___________ Case No. _______________ _
 9.         Defendant(s) in federal custody as of _____________________
 10.       Defendant(s) in state custody as of
 11.       Rule 20 from the____District of _________ _
 12.       Is this a potential death penalty case? (Yes or No) No
 13.       Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
           prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No)
 14.       Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
           to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
 15.       Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
           during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? No
 16.       Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
           Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024? �

                                                             By:

                                                                        Assistant
                                                                        Court ID No.
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 26 of 31




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

    Defendant's Name: JUAN ANDRES DONATO BAUTISTA

    Case No: _______________________________

    Count# 3:

    Conspiracy to Engage in Money Laundering

    Title 18, United States Code, Section 1956(h)
    * Max. Term of Imprisonment: Twenty (20) Years
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: Three Years
    * Max. Fine: $500,000 or twice the value of the property involved in the transaction,
    whichever is greater


    Counts# 4-6:

    Money Laundering

    Title 18, United States Code, Section 1956(a)(2)(A)
    * Max. Term of Imprisonment: Twenty (20) Years
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: Three Years
    * Max. Fine: $500,000 or twice the value of the property involved in the transaction,
    whichever is greater




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 27 of 31




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name: ROGER ALEJANDRO PINATE MARTINEZ

   Case No: -------------------------------

   Count# 1:

    Conspiracy to Violate the Foreign Corrupt Practices Act

    Title 18 United States Code Section 371
    *Max. Term of Imprisonment: Five (5) Years
    *Mandatory Min. Term of Imprisonment (if applicable): NIA
    *Max. Supervised Release: Three Years
    *Max. Fine: $500,000 or twice the amount of the financial gain or loss


   Count#2:

   Violation of the Foreign Corrupt Practices Act

   Title 15, United States Code, Sections 78dd-2
   *Max. Term of Imprisonment: Five (5) Years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA
   *Max. Supervised Release: Three Years
   * Max. Fine: $500,000 or twice the amount of the financial gain or loss


   Count# 3:

    Conspiracy to Engage in Money Laundering

   Title 18, United States Code, Section 1956(h)
   *Max.Term of Imprisonment: Twenty (20) Years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA
   *Max. Supervised Release: Three Years
   *Max.Fine: $500,000 or twice the value of the property involved in the transaction,
   whichever is greater




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 28 of 31




   Counts # 4-6:

   Money Laundering

   Title 18, United States Code, Section 1956(a)(2)(A)
   *Max.Term of Imprisonment: Twenty (20) Years
   *Mandatory Min.Term of Imprisonment (if applicable): N/A
   *Max. Supervised Release: Three Years
   *Max.Fine: $500,000 or twice the value of the property involved in the transaction,
   whichever is greater




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 29 of 31




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

    Defendant's Name: JORGE MIGUEL VASQUEZ

    Case No: _______________________________

    Count# 1:

    Conspiracy to Violate the Foreign Corrupt Practices Act

    Title 18, United States Code, Section 371
    *Max.Term of Imprisonment: Five (5) Years
    *Mandatory Min.Term of Imprisonment (if applicable): N/A
    * Max.Supervised Release: Three Years
    *Max.Fine: $500,000 or twice the amount of the financial gain or loss


    Count# 2:

    Violation of the Foreign Corrupt Practices Act

   Title 15, United States Code, Sections 78dd-2
   *Max.Term of Imprisonment: Five (5) Years
   *Mandatory Min. Term of Imprisonment (if applicable): N/A
   *Max.Supervised Release: Three Years
   *Max. Fine: $500,000 or twice the amount of the financial gain or loss


    Count# 3:

    Conspiracy to Engage in Money Laundering

   . Title 18, United States Code, Section. 1956(h)
     *Max. Term of Imprisonment: Twenty (20) Years
     *Mandatory Min.Term of Imprisonment (if applicable): N/A
     *Max.Supervised Release: Three Years
     *Max.Fine: $500,000 or twice the value of the property involved in the transaction,
     whichever is greater




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 30 of 31




    Counts# 4-6:

    Money Laundering

    Title 18, United States Code, Section 1956(a)(2)(A)
    * Max. Term of Imprisonment: Twenty (20) Years
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: Three Years
    * Max. Fine: $500,000 or twice the value of the property involved in the transaction,
    whichever is greater




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20343-KMW Document 12 Entered on FLSD Docket 08/09/2024 Page 31 of 31




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

    Defendant's Name: ==�;;..;:;;..;
                      ELIE MORENO   =;.;;..;...;:;._____________________
    Case No: -------------------------------

    Count# 3:

    Conspiracy to Engage in Money Laundering

    Title 18, United States Code, Section l 956(h)
    *Max.Term of Imprisonment: Twenty (20) Years
    *Mandatory Min. Term of Imprisonment (if applicable): N/A
    *Max. Supervised Release: Three Years
    * Max. Fine: $500,000 or twice the value of the property involved in the transaction,
    whichever is greater


    Counts# 4-6:

    Money Laundering

    Title 18, United States Code. Section 1956(a)(2)(A)
    *Max.Term of Imprisonment: Twenty (20) Years
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: Three Years
    * Max. Fine: $500,000 or twice the value of the property involved in the transaction,
    whichever is greater




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
